‘ Case 1:15-Cr-00120-.].]|\/|-PAS Document 200 Filed 09/27/18 Page 1 of 8 Page|D #: 1768

§AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case

(NOTE: Identify Chauges with Asterisks (*))

 

 

Sheetl '
UNiTED STATES DisTRiCT CoURT
DISTRICT OF RHODE ISLAND
UNITED STATES OF AMERICA Al\/[ENDED JUDGMENT IN A CRIM]NAL CASE

V.
Ra'f‘fae|e Marzia|e

Date of Original Judgment: 5/2/2017

(Or Date of Last Ameiided Judgmenf§
Reason for Amendnient:

l:] Correction of Sentence on Remand (18 U.S.C. 3742(®(1) and (2))

[:] Reduction of Sentence for Chariged Circumstances (Fed. R. Crim.
P, 35(b))
[:l Correction of Sentence by Sentencing Court (Fed. R. Crirn. P. 35(a))

I:] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT :
pleaded guilty to count(s)

1,5,6,13 and 19 of the |ndictment.

Case Number: 1515QR00120~03JJ |\/|

USM Nuinber: 10702-070
Joseph J. \/occco|a, Esq.
Defendant’s Attomey

 

Ij Modit'ication of Supervision Conditions (18 U.S.C. §§ 3563(0) or 3583(¢))

I:] Modification of Iinposed Tei'm oflmprisonment for Extraordinary and
Couipelling Reasons (18 U.S.C. § 3582(<:)(1))

[:] Modification ofImposed Term ofImpri'sonment for Retroactive Amendment(s)
to the Sentencing Guidelines (18 U.S.C. § 3582(0)(2))

E DirectMotion to District Court Pursuant m 28 U.S.C. § 2255 or
f:] 18 U.S.C. §3559(0)(7)

Moditication of Restitution Ordei' (18 U.S.C, § 3664)

 

|:] pleaded nolo contendere to count(s)

 

Whi'ch Was accepted by the court.
[] Was found guilty on count(s)

 

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Sectioii Nature of Offense

18 U.S.C. § 1349 Conspiracy To Commit Bank Fraud

18 U.S.C‘ § 1344 and 2 Bank Fraud

18 U.S.C. § 1028A and 2 Aggravated identity Theft

Tlie defendant is sentenced as provided in pages 2 through
the Sentenci'ng Reform Act of 1984`

l:l The defendant has been found not guilty on count(s)

Offense Eiided Count
1
November 10, 2013
5,6
Aprii 30, 2013 '
September26, 2013 13`19
8 of this judgment Tlie sentence is imposed pursuant to

 

l:l Couiit(s) |:l is

 

l:l are dismissed on the motion of the Uni`ted States.

l lt is ordered that the defendant _must notify the Um"ted States attorney for this district within 30 da s of any change of name, residence,
or mailing address until all fines, restitution,`costs, and special assessments imposed by this judgment are fu ly paid. If orderedto pay restitution,
the defendant must notify the couii; and United States attorney of materia changes in economic cn‘cuinstances.

int a/zi&OiP/> j l

 

\/Signature of Judge /

John J. McConnell, Jr.
US District Judge

 

Name and Title of lodge

Date

c/Q7/9nia

 

 

Case 1:15-cr-00120-.].]|\/|-PAS Document 200 Filed 09/27/18 Page 2 of 8 Page|D #: 1769

AO 245C (Rev. 02/18) Amended Jiidgment in a Criminzil Case
Sheet 4_Probaticri

Judgment_Page 2 of 8

DEFENDANT: Ratfae|e Marzia|e
CASE NUl\/IBER: 1215CR00120-03JJM

PROBATION

You are hereby sentenced to probation for a term of :

3 years of probation as to Counts 1, 5, 6, 13 and 19, to run concurrently With each 0ttier.

MANDATORY CON])ITIONS

You must not commit another federal, state cr local crime.
You must not unlawfully possess a controlled substance
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the courtl
|:] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check ifapp!icable)
4. ZI You must cooperate in the collection cf DNA as directed by the probation cfdcer. (chec/c dapplicable)
1:|

You must comply With the requirements cf the Sex Offender Registration and Notit`ication Act (34 U.S.C. § 20901, et seq.)

as directed by the probation officer, the Bi.u‘eau ofPrisons, cr any state sex offender registration agency in the location

where you reside, work, are a student, or were convicted of a qualifying offense (clreck ifapp!icable)
l:| You must participate in an approved program for domestic violence. (check ifapp/icable)
I:] You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check ifapp/icab/e)
Ycu must pay the assessment imposed in accordance with 18 U.S.C. § 3013`
If this judgment imposes a iine, you must pay in accordance With the Schedule cf Payrnents sheet of this judgmentl
O. Ycu must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
iines, or special assessments `

S*°.Nt"‘

""§~O?°.\’.O\

You must comply with the standard conditions that have been adopted by this court as well as With any other conditions on the attached
page. -

 

 

Case 1:15-cr-00120-.].]|\/|-PAS Document 200 Filed 09/27/18 Page 3 of 8 Page|D #: 1770

AO 245C (`Rev. 02/18) Aincnded Judgnient in a Criminal Case
Sheet 4A~ Prcbation

 

 

Judgment~Page 3 of 8

DEFENDANT: Ratfaele Maiziale
CASE NUl\/fBER: 1 :1SCR00120-03JJl\/1

STANDARD CONDITIONS ()F SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the coiut about, and bring about improvements in your‘conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside Within 72 hours of the time
you Were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame

2. After initially reporting to the probation oftice, you will receive instructions from the court or the probation officer about how and
when you must report to the probation ofiicer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

couit or the probation ofiicer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation oft'icer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation ofiicer at least lO days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation oflicer at least 10 days before the change If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware cfa change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate Or interact with that person without first getting the permission of the
probation ofticer.

9. lf you are arrested or questioned by a law enforcement ofticer, you must notify the probation officer Within 72 hours.

l0. You must not own, possess, or have access to a firearm, ammunition destructive device, or dangerous weapon (i.e., anything that was
designed, or Was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a coniidential human source or informant without
first getting the permission cf the court

l2. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation ofhcer may contact the
person and confiim that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

S'":‘:~

U.S. Probation Ofiice Use Only
A U.S. probation ofiicer has instructed me on the conditions speciiied by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overvz'ew ofProbation and Supe)'vi`sed

Release Condz'tz'ons, available at: www.uscouits.gov.

Defendant‘s Signature Date

 

 

 

 

Case 1:15-cr-00120-.].]l\/l-PAS Document 200 Filed 09/27/18 Page 4 of 8 PagelD #: 1771

AO 245C (Rev. 02/18) Amended Juclgment in a Criniinal Case
Sheet 4]3 ~Probation

 

Judgment»-Page 4 of 8

DEFENDANT: Raffaele l\/iarziale
CASE NUMBER: 1:15CR00120-03JJl\/i

ADDITIONAL i>RoBATioN TERMS

. 1..The defendant shall spend the first 6 months of probation are on home detention with RF monitoring and will be
restricted to his residence at all times. Exceptions to home detention: employment, medical treatment,religious services,
medical treatment substance abuse or mental health treatment attorney visits, court appearances court ordered
obligations or other activities preapproved by the ofhceri The defendant shall pay all or part of the cost of monitoring based
on ability to pay as determined by the probation ofhcer.

2. The defendant is to provide access to all financial information requested by the supervising probation ofhcer lncluding,
but not limited to,coples of all federal and state income tax returns A|l tax returns shall be filed in a timely manner.

3. The defendant Will not open new lines of credit, which includes the leasing of any vehicle or other propeny, or use
existing credit resources without the prior approval of the supervising probation officer until court ordered financial
obligations have been satisfied f

4. The defendant Will not transfer, sell, give away, or otherwise convey any asset With a fair market value in excess of
$1,000.00 without the approval of the supervising probation officer until all hnancia| obligations imposed by this court have
been satished. '

5. The defendant Wil| not hold employment and or self-employment having hduciary responsibilities during the
supervision term without hrst notifying the employer of the conviction..The defendant will not hold employment and/or
self-employment having fiduciary responsibilities without approval of the supervising probation officer.

6. The defendant will cooperate with the U,S. Probation Oft"ice in the investigation and approval of any position of
self-employment including any independent entrepreneurial, or freelance employment or business activity. lf approved for
self-employment the defendant will provide the U.S. Probation Ofnce With full disclosure of self-employment and other
business records, including, but not limited to, all of the records identified in the Probation Form 48F (Requesi for
Self-Employment Records), or as otherwise requested by the U.S. Probation Oft`ice.

7. The defendant shall participate in a program of substance abuse testing, (up to 72 drug tests per year) as directed and
approved by the Probation Office. '

8. The defendant shall contribute to the cost of all ordered treatment and testing based on ability to pay as determined by
the probation officer.

 

 

Case 1:15-cr-00120-.].]l\/l-PAS Document 200 Filed 09/27/18 Page 5 of 8 PagelD #: 1772

AAO 245C (Rev, 02/18) Amended Judgment in a Criniinal Case
Sheet 5 - Criminal Monetary Penalties

Judgment _ Page 5 of 8
DEFENDANT: Raffaele Marziale

CASE NUMBER: 1215CR00‘| 20-03JJl\/l
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assesslnent JVTA,Assessment“" Fine * * Restitution
TOTALS $ 500.00 $ 0.00 $ 1,000.00 $ 74,083.24
l:] The determination of restitution is deferred until . An Amended Jildgment in a Crimi)ia/ Case (A0245C) Will be entered

after such determination
* *Ej The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a paitial payment, each pa ee shall receive an approximatel§{Jpro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column eloW. However, pursuant to 18 .S. . § 3664 i), all nonfederal Victims must be paid
before the United States is paid.

Name of Payee Total Loss*`k Restitution Ordered Prioritv or Percentage
* *

l SierraPacitic l\/_lortgag`e'Company,in¢,`
~1 180 iron Pointh, Ste 2004 '

,Foisom“cA'eseso~% f w ' ~ t $311509`~:00§§: ; ~$~31'?500~09:§t':"‘d“t‘d“a“>" "`»

 

Director, Financial Operations Center,

Federal Housing Authority
52 Corporate Circ|e Omce $34,558.76 $34,558.76 J&S/CR15-120-01,02

Albany, NY 12203

 

Doug~Lopez 7 ,, t t di - ~,:, _;
` 4 , '$1,351`;79,,? 1 g ` y gsi,ssi`.zs~\ J&sicR'ie-fizo'_pjig

 

TOTALS $ 74,083.24 g 74,033_24

 

|:| Restitution amount ordered pursuant to plea agreement $

l:| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 36l2(g).

* * m The court determined that the defendant does not have the ability to pay interest and it is ordered that:
§ the interest requirement is Waived for the § fine § restitution

[l the interest requirement for the l:l fine l:| restitution is modified as follows:

* Justice for Victims of Traffickin Act of 2015, Pub. L. No. l l4-22.

** Findings for the total amount o losses are required under Cliapters 109A, l l(), llOA, and ll3A of Title 18 for offenses committed on or
after September 13, 1994, but before Apri123, 1996.

 

Case 1:15-cr-00120-.].]l\/l-PAS Document 200 Filed 09/27/18 Page 6 of 8 PagelD #: 1773

AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
Sheet 5B _ Criminal Monetary Penalties

 

 

 

1 _' 6 ` ' 8
DEFENDANT; Raffaeie iviarziaie J“dg“e’“ P”g° °f
CASENUMBER: 1:15CR00120-03JJM
ADDITIONAL RESTITUTION PAYEES
Priority or
* xName of Payee Total Loss°" Restitution Grdered Percentage
Roberto Concepcion
$3,659.14 $3,659.14 J&S/CR15-120-O‘l
Luis Sepulveda
$3,013.55 $3,013.55 J&S/CR15-120-01

* Findings for the total amount of losses are rquuired under Cliapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 19 6.

 

Case 1:15-cr-00120-.].]l\/l-PAS Document 200 Filed 09/27/18 Page 7 of 8 PagelD #: 1774 .

AO 245€ (Rev. 02/18) Amendediudginent in a Criminal Case
Sheet 6 _ Schedule ofPayments

 

Judgment ~Page 7 of 8
DEFENDANT: Raffaele l\/larzia|e
CASE NUMBER: i :1SCR00120-03JJl\/l

SCHEDULE OF PAYMENTS
t * Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A Z| Lump sum payment of $ 75»583-24 due immediately, balance due

[] not later than ,or
ij inaccordancewith |:] C, l:| D, |:] E,cr *lj Fbelow; or

B [:] Payment to begin immediately (may be combined with l:l C, l:l D, or l:l F below); or

C [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g,, months or years), to commence (e.g., 30 0)' 60 days) after the date of this judgment; or

D l:l Payment in equal (e.gi, weekly, monthly, quarterly) installments of $ over a period of
(e.g., mont/rs or yea)'s), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [] Payment during the term of supervised release will commence Within (e.g., 30 or 60 days) after release from
imprisonment The court Wi11 set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F l___l Special instructions regarding the payment of criminal monetary penalties:

Unless the courthas expressly ordered otherwise, if this judgment imposes imprisonment, pa ent of criminal monetary penalties is due during
the period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Pnsons’ lnmate
Financial Responsibility Program, are made to the clerk of the couit.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

k * El Joint and Several

Defendant and Co-Defendant Namesl and Case Numbers (includiug defendant numbeij, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

[l The defendant shall pay the cost ofprosecution.
E The defendant shall pay the following court cost(s):

ij The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment (8) penalties, and (9) costs, including cost of prosecution and court costs.

 

 

~k~k

Case 1:15-cr-00120-.].]l\/l-PAS Document 200 Filed 09/27/18 Page 8 of 8 PagelD #: 1775

AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
Sheet 6A - Schedule of Payments

 

 

Judgment_Page 8 of 8

DEFENDANT: Raffaele l\/larziale
CASE NUMBER: 1 :1SCR00120-03JJl\./l

ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL

Case Number

 

 

$3,013.55 $3,013.55

 

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) 7 Total Amount l Amount if appropriate
cR15-120-03 `Rafraeie i\/iarziaie j ` . 1 , , . t `~ ` ' Federal Housing Authority
` g ' $34,558.76§ $34,558.76 ` _ f ' pp f
CR15-120-01 Louis ivlarandola Federal l-lousing Authority
$34,558.76 $34,558.76
CR15-120-02 Brian l\/lcCaffrey' ` ~ ' .;' ' ' ` Federal Housing Authority
7 $34,558.76 _; s $34,558.76 ' ` ~ ,
CR15-120-06 Edwin Rodriguez Federal Housing Authority
_ $34,558.76 $34,558.76
CR16r-112-01 Lauren Sienko §~ j ` , , f v Federal Housing Authority
' $34,553.76 ry ~ $34,558.76 t , '
CR15-120-Oi Louis l\/larandola Doug Lopez
$1,351.79 $1,351.79
"C'R15-120~01 Louis l\/larand,ola 7 l ' ii ' t ~` _ Roberto Concepcion 7
' 3 yti53,659,."|4y » t _ $3,659.14 z g '
CR15-120-01 Louis l\/larandola Luis Sepu|veda

 

 

 

